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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 PENNSYLVANIA STATE CONFERENCE                  )
 OF THE NAACP, et al.,                          )
                                                ) Civil Action No.: 1:22-cv-00339
                Plaintiffs,                     )
                                                )
        v.                                      ) Judge Susan P. Baxter
                                                )
 LEIGH M. CHAPMAN, et al.,                      )
                                                )
                Defendants.                     )


                                     [PROPOSED] ORDER

       Now, this _______ day of November, 2022, upon consideration of the Motion to permit

John M. Gore to be admitted and take part in this case as counsel pro hac vice to Intervenor-

Defendants, and it appearing that Mr. Gore is a duly admitted member of the bar in good standing,

IT IS HEREBY ORDERED that John M. Gore be admitted to the bar of this Court pro hac vice

for the purpose of all matters concerning this case.



                                                       ___________________________________
                                                       Honorable Susan P. Baxter
                                                       United States District Judge
